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MARCEREAU & NAZIF

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ATTORNEYS FOR CREDITORS and PLAINTIFFS
Kelli Peters, Bill Peters and Sydnie Peters

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA —- SANTA ANA DIVISION

In re: Case No. 8:16-bk-10223-ES
Adversary Case No.: 8:16-ap-01114-ES
Kent W. Easter, dba Kent Easter

Consulting, dba Law Offices of Kent W. | PLAINTIFF’S NOTICE OF MOTION
Easter AND MOTION FOR SUMMARY
JUDGMENT

[Notice of Motion and Motion; Declaration
of Robert H. Marcereau; Separate Statement

Kelli Peters, Bill Peters and Sydnie Peters, of Undisputed Facts; Request for Judicial
Notice filed concurrently]

Plaintiffs,

VS.
Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.

Easter,
Defendants.

TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE THAT, on November 10, 2004 at 10:30 a..m., or as soon
thereafter as the matter may be heard, in Department 2 of the United States Bankruptcy Court,
Central District of California, located at 411 W. Fourth Street, Santa Ana, California 92701 (the
“Bankruptcy Court”), before the Honorable Erith A. Smith, United States Bankruptcy Judge,
Plaintiffs Kelli Peters, Bill Peters and Sydnie Peters (collectively “Plaintiffs”), will and hereby do

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PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT

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move the Bankruptcy Court (this “Motion”), under Rule 56 of the Federal Rules of Civil Procedure,
made applicable to this adversary proceeding by Rule 7056 of the Federal Rules of Bankruptcy
Procedure, for an Order granting summary judgment on Plaintiffs’ “Complaint te Determine
Nondischargeability of Debt” (the “Complaint”) against Defendant Kent Easter (“Easter” or
“Defendant”).

Plaintiffs bring this Motion on the grounds that: (a) all of the facts and issues underlying the
claims for relief alleged in the Complaint have been actually, fully, and fairly adjudicated to
Judgment in Plaintiffs’ favor in the Superior Court for the State of California, for Orange County,
Case No. 30-2012-00588580 (the “State Court Action’’); (b) the doctrine of collateral estoppel bars
the re-litigation of these facts and issues; (c) there is no genuine issue as to any material fact
regarding the nondischargeability of Defendant’s debts to Plaintiffs; and (d) Plaintiffs are entitled to
judgment as a matter of law.

The amounts set forth in the final Judgment constitute nondischargeable debts pursuant to
11 U.S.C. § 523(a)(6) for willful and malicious injury.

This Motion is based upon this Notice of Motion and Motion, the concurrently filed
Memorandum of Points and Authorities, Declaration of Robert Marcereau, Separate Statement of
Undisputed Facts, and Request for Judicial Notice, all pleadings, papers, documents, and records on
file in Defendant’s bankruptcy case and this adversary proceeding, and other and further evidence
and arguments as may be properly presented to the Bankruptcy Court at or before the hearing on
this Motion.

PLEASE TAKE FURTHER NOTICE THAT, pursuant to Rule 9014-4(b) of the Local
Bankruptcy Rules (“LBR”), any opposition or other response to this Motion must be served upon
the undersigned, and the original and one copy of such papers with proof of service must be filed
with the Clerk of the Bankruptcy Court, not later than fourteen (14) days after service of this
Motion if personally served, or not later than seventeen (17) days after service of this Motion if

served by mail.

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PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT

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PLEASE TAKE FURTHER NOTICE THAT, pursuant to Rule 9014-4(e) of the LBR,
the failure of any party-in-interest to timely file opposition to this Motion may be deemed by the
Bankruptcy Court to be consent to the granting of the relief requested by Plaintiffs and a waiver of
oral argument by the opposing party.

WHEREFORE, Plaintiffs respectfully requests that the Bankruptcy Court:

1. Enter an Order granting this Motion and granting Plaintiffs’ summary judgment in this
adversary proceeding;

2. Enter Judgment in Plaintiffs’ favor and against Defendant as follows:

a. Defendant’s debts to Plaintiffs in the amounts of $800,000 (Kelli Peters),
$600,000 (Sydnie Peters), $365,000 (Bill Peters), and $1,500,000 in punitive
damages (jointly to Plaintiffs), awarded by the State Court Judgment, are
nondischargeable;

b. Defendant’s debt to Plaintiffs for post judgment interest as determined and
awarded by the State Court, at the rate of 10% per annum from the date of the State
Court Judgment until paid, is nondischargeable;

3. Enter an Order awarding Plaintiffs its costs and reasonable attorneys’ fees in this
adversary proceeding; and

4, Granting such other and further relief as is just and equitable under the circumstances of

this case.

Dated: October 4, 2016 MARCEREAU & NAZIF

és/ Robert H. Marcereau
Robert H. Marcereau
Attorneys for Plaintiffs

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PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing document entitled (specify PLAINTIFF’S NOTICE OF MOTION FOR SUMMARY
JUDGMENT will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (dafe)
10/04/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

L] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 10/4/16, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor: Kent Wycliffe Easter, 153 Baywood Dr., Newport Beach, CA 92660

Trustee: Weneta M.A. Kosmala, P.O. Box 16279, Irvine, CA 92623,

Judge: Hon. Erithe A. Smith, U.S. Bankruptcy Court Central District, 411 W. Fourth St, Suite 5040 / Ctrm 5A
Santa Ana, CA 92701-4593

L] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 10/04/16 | served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method}, by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personat
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

L] Service inféfmation,gontinued on attached pag!

10/4/2016 Nicole Lipowski

Date Printed Name

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
